                     IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

 JASON WILLIAMS,
                                                       Case No. 5:19-cv-00475-BO
        Plaintiff,

 vs.

 AT&T MOBILITY LLC,

        Defendant.


              ORDER GOVERNING DISCLOSURE OF DOCUMENTS
              PURSUANT TO FEDERAL RULE OF EVIDENCE 502(d)

       WHEREAS, Plaintiff Jason Williams and Defendant AT&T Mobility LLC (each

of the foregoing, a "Party", and collectively, the "Parties") have jointly requested and

consent to entry of an order governing disclosure of documents pursuant to Federal

Rule of Evidence 502(d) and it appearing to the Court there is good cause to enter

such an order:

       IT IS HEREBY ORDERED:

       1.      No Waiver by Disclosure. This Order is entered pursuant to Rule

502(d) of the Federal Rules of Evidence. Suqject to the provisions of this Order, if a

party (hereinafter, the "Disclosing Party") discloses information in connection with

the pending litigation that the Disclosing Party thereafter claims to be privileged or

protected by the attorney-client privilege and/or work product protection ("Protected

Information"), the disclosure of that Protected Information will not constitute or be

deemed a waiver or forfeiture-in this or any other action-of any claim of privilege



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or work product protection that the Disclosing Party would otherwise be entitled to

assert with respect to the Protected Information and its subject matter.

      2.      Notification Requirements; Best Efforts of Receiving Party. The

Disclosing Party must, within a reasonable period of time after learning of the

disclosure of Protected Information, notify the party receiving the Protected

Information ("the Receiving Party"), in writing, that it has disclosed that Protected

Information without intending a waiver by the disclosure. Upon such notification, the

Receiving Party must-unless it contests the claim of attorney-client privilege or

work product protection in accordance with paragraph (c)-promptly: (i) notify the

Disclosing Party that it will identify and return, sequester or destroy (or in the case

of electronically stored information, permanently delete) the Protected Information

and any reasonably accessible copies it has, and (ii) provide a certification that it will

cease further review, dissemination, or use of the Protected Information. For

purposes of this Order, Protected Information that has been stored on a source of

electronically stored information that is not reasonably accessible, such as backup

storage media, is sequestered. If such data is retrieved, the Receiving Party must

promptly take steps to delete or sequester the restored Protected Information.

      3.      Contesting Claim of Privilege or Work Product Protection. If the

Receiving Party contests the claim of attorney-client privilege or work product

protection, the Receiving Party must-within ten (10) business days of receipt of the

notice of disclosure-move the Court for an Order compelling disclosure of the

information claimed as unprotected (a "Disclosure Motion"). The Disclosure Motion


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must be filed under seal and must not assert as a ground for compelling disclosure

the fact or circumstances of the disclosure. Pending resolution of the Disclosure

Motion, the Receiving Party must not use the challenged information in any way or

disclose it to any person other than those required by law to be served with a copy of

the sealed Disclosure Motion. The Parties shall cooperate to meet and confer in

accordance with the Local Rules prior to expiration of the ten (10) day period set out

in this paragraph.

      4.      Stipulated Time Periods. The parties may stipulate to extend the

time periods set forth in paragraphs (2) and (3).

      5.      Attorney's Ethical Responsibilities. Nothing in this Order overrides

any attorney's ethical responsibilities to refrain from examining or disclosing

materials that the attorney knows or reasonably should know to be privileged or

protected and to inform the Disclosing Party that such materials have been produced.

      6.      Burden of Proving Privilege or Work Product Protection. The

Disclosing Party retains the burden-upon challenge pursuant to paragraph (c)-of

establishing the privileged or protected nature of the Protected Information.

      7.      In Camera Review. Nothing in this Order limits the right of any party

to petition the Court for an in camera review of the Protected Information.

      8.      Voluntary and Subject Matter Waiver. Except as specifically stated

herein, this Order does not preclude a party from voluntarily waiving the attorney-

client privilege or work product protection.




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      9.      Rule 502(b)(2). The provisions of Federal Rule ·of Evidence 502(b)(2)

are inapplicable to the production of Protected Information under this Order.



      IT IS SO ORDERED.


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